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                                                     U.S. Department of Justice
           [Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                                 The Silvio J. Mollo Building
                                                                 One Saint Andrew’s Plaza
                                                                 New York, New York 10007



                                                                 October 14, 2020

           BY ECF AND EMAIL

           The Honorable Jesse M. Furman
           United States District Judge
           Southern District of New York
           40 Foley Square
           New York, New York 10007

                  Re:     United States v. Mustapha Raji, 19 Cr. 870 (JMF)

           Dear Judge Furman:

                   The Government and the defendant write jointly in response to the Court’s direction that
           the parties submit a letter indicating our views on whether the proceeding scheduled for October
           29, 2020 should be held. (See Dkt. Entry No. 44).

                  The parties request that the proceeding scheduled for October 29, 2020 be adjourned to a
           date in mid-January 2021. Due to the defendant’s residence in Florida, and the defendant’s
           ongoing medical issues—which have required some hospitalization—the defendant and defense
           counsel have not been able to adequately confer regarding a possible plea or motions.

                  Should the Court wish to hold a proceeding this month, the parties request a virtual pretrial
           conference, so that the defendant need not travel to New York and risk additional exposure to the
           coronavirus. The defendant waives his appearance at either an in-person proceeding or a virtual
           proceeding. The parties are available at the following dates and times: October 27th after 12:00
           p.m.; October 28th after 3:30 p.m.; October 29th at any time; October 30th before 12:00 p.m. or after
           3:00 p.m.

                   If the Court adjourns the pretrial conference to a date in mid-January 2021, the parties
           respectfully request that the Court exclude time under the Speedy Trial Act from October 29, 2020
           to the next pretrial conference date, so that the defendant and his counsel have adequate time to
           confer regarding a possible pretrial disposition and/or possible motions.
The Court will hold a teleconference with the attorneys
on October 27, 2020, at 2:15 p.m. To access the            Respectfully submitted,
conference, counsel should call 888-363-4749 and use
access code 5421540#. (Members of the press and            AUDREY STRAUSS
public may call the same number, but will not be           Acting United States Attorney
permitted to speak during the conference.) Counsel
should be sure to consult the Court's Emergency By:
Individual Rules and Practices, available on the           Dina McLeod/Eun Young Choi
Court's website, and comply with the rules regarding       Assistant United States Attorneys
                                                           (212) 637-1040/ -2187
conferences. The Clerk of Court is directed to
terminate Doc. #45. SO ORDERED.

                                                                                                October 16, 2020
